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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
                                        )
v.                                      )
                                        )       Criminal No. 1:22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED,                        )
                                        )
                    Defendants          )
                                        )

DEFENDANT RICHARD SLAUGHTER’S MOTION TO DISMISS COUNT ONE ON
GROUNDS THAT THE BATON BELONGING TO THE METROPOLITAN POLICE
DEPARTMENT IS NOT “PROPERTY OF THE UNITED STATES” AND THUS THE
COURT LACKS JURISDICTION



      COMES NOW Defendants Rick Slaughter and Caden Gottfried, by and

through undersigned counsel John Pierce, with this motion to dismiss Count 1 on

grounds that the Metropolitan Police Department baton is not property of the

United States.

      The District of Columbia Government consists of three branches of

government: Executive, Legislative, and Judicial. It is independent from and of the

United States. The Mayor of D.C. is not an officer of the United States. And the

D.C. Metropolitan Police Department (MPD) is not a United States government

agency. Nor is the property of the MPD property of the United States.

      District of Columbia home rule is the D.C. residents' ability to govern their

local affairs. D.C. has its own courts, separate from the courts of the United States.

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And D.C.’s MPD are separate and independent from the Capitol Police, the US

Marshal Service, and the FBI.




ACCORDINGLY, Count 1 must be dismissed.


Dated: September 1, 2023                                   Respectfully Submitted,

                                                                     /s/ John M. Pierce
                                                                         John M. Pierce
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, September 1, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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